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UNITED STATES BANKRUPTCY COURT                                          SOUTHERN DISTRICT OF TEXAS
                                                                                                             ENTERED
                                                                                                             11/13/2019
                                          MOTION AND ORDER
                                      FOR ADMISSION PRO HAC VICE

          Division                    Houston               Main Case Number                 19-36313
          Debtor             In Re:                  Southern Foods Group, LLC, et al.


This lawyer, who is admitted to the State Bar of                    Louisiana                  :

                        Name                              Mark J. Chaney, III
                        Firm                              McGlinchey Stafford PLLC
                        Street                            601 Poydras Street, Suite 1200
                  City & Zip Code                         New Orleans, LA 70130
                     Telephone                            504-596-2784
                                                          Louisiana Bar No. 35704
              Licensed: State & Number

Seeks to appear as the attorney for this party:

 Automotive Rentals, Inc., a New Jersey corporation, and ARI Fleet LT, a Delaware business trust


 Dated: 11/13/2019                         Signed: /s/ Mark J. Chaney, III




 COURT USE ONLY: The applicant’s state bar reports their status as:                                      .



 Dated:                                    Signed:
                                                            Deputy Clerk



                                                      Order (Docket No. 87)


                                      This lawyer is admitted pro hac vice.
           The lawyer shall review the Local Rules, the Complex Case Procedures and the Court's published procedures.
Dated:
                                                             United States Bankruptcy Judge
           Signed: November 13, 2019

                                                              ____________________________________
                                                              DAVID R. JONES
                                                              UNITED STATES BANKRUPTCY JUDGE
